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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :    Case No. 21-CR-275 (ABJ)
       v.                                      :
                                               :
JAMES MATTHEW HORNING                          :
                                               :
               Defendant                       :

                  GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                     PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby notifies the Court of the submission of video exhibits in support

of sentencing in the above-captioned matter. As video clips, they are not in a format that readily

permits electronic filing on CM/ECF. Video exhibits have been submitted to the Court and made

available to defense counsel via the government’s file-sharing site, USAfx. Each exhibit is

identified and briefly described below.

       The proposed exhibits are as follows:

       1.      Government Exhibit 1 is a snapchat video depicting the defendant on the Capitol

Grounds. The clip is approximately 13 seconds. The events depicted in the exhibit occurred in the

early afternoon of January 6, 2021.

       2.      Government Exhibit 2 is a clip from a video taken by Jacob Hiles atop the

scaffolding at the Capitol Building – defendant Horning is briefly shown at 0:05. The clip is

approximately 41 seconds. The events depicted in the exhibit occurred in the afternoon on January

6, 2021.
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        The United States takes the position that the entered exhibits should be promptly released

to the public.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    s/ Shalin Nohria
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